                  IN THE COURT OF APPEALS OF NORTH CAROLINA

                                      2021-NCCOA-562

                                       No. COA20-869

                                    Filed 19 October 2021

     Office of Administrative Hearings, No. 20 OSP 01463

     VELMA SHARPE-JOHNSON, Petitioner,

                 v.

     NC DEPARTMENT OF PUBLIC INSTRUCTION EASTERN NORTH CAROLINA
     SCHOOL FOR THE DEAF, Respondent.


           Appeal by Petitioner from final decision entered 28 September 2020 by

     Administrative Law Judge William T. Culpepper, III, in the Office of Administrative

     Hearings. Heard in the Court of Appeals 8 September 2021.


           Jennifer J. Knox for Petitioner-Appellant.

           Attorney General Joshua H. Stein, by Assistant Attorney General Stephanie C.
           Lloyd, for Respondent-Appellee.


           COLLINS, Judge.


¶1         Petitioner Velma Sharpe-Johnson appeals from a Final Decision of the Office

     of Administrative Hearings affirming her dismissal from her position as an

     Educational Development Assistant by Respondent North Carolina Department of

     Public Instruction, Eastern North Carolina School for the Deaf. Petitioner argues

     that “the trial court err[ed] in determining that there was substantial evidence to

     prove that the Petitioner committed the alleged conduct[.]” Because substantial
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     evidence in the whole record supported the findings that Petitioner engaged in grossly

     inefficient job performance and unacceptable personal conduct, we affirm.

                                 I.   Procedural History

¶2         Respondent dismissed Petitioner from employment on 19 December 2019 and

     issued a final agency decision affirming the dismissal on 24 March 2020. Petitioner

     timely filed a petition for a contested case hearing in the Office of Administrative

     Hearings.

¶3         On 28 September 2020, an Administrative Law Judge (“ALJ”) issued a Final

     Decision affirming Respondent’s dismissal of Petitioner. Petitioner exhausted the

     agency processes to grieve the dismissal. Petitioner timely gave notice of appeal to

     this Court.

                                II.   Factual Background

¶4         The Eastern North Carolina School for the Deaf (“ENCSD”) serves both day

     students and residential students.     Residential students arrive at the school on

     Sunday afternoon, remain on campus throughout the school week, and return home

     on Friday afternoon. ENCSD operates bus routes to pick up residential students on

     Sundays and return them home on Fridays. Each bus is staffed by two ENCSD

     Educational Development Assistants; one serves as the driver and the other as the

     bus monitor. The bus monitor is responsible for recording departure times, arrival

     times, and student attendance in real time on a “route sheet.” The busses contain a
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     GPS supplied by the school that is supposed to blink red and beep if the bus exceeds

     55 miles per hour.

¶5         Petitioner was a career state employee employed by ENCSD as an Educational

     Development Assistant.    Petitioner’s responsibilities included “[d]riving ENCSD

     vehicles for student transportation and maintaining a non-expired NCDMV

     operations license,” “complet[ing] all necessary training regarding the operation of

     state vehicles,” supervising students being transported, and “providing safe and

     secure travel to and from ENCSD.”

¶6         In August 2019, Petitioner signed a “Statement of Understanding – 2019-2020”

     containing the following acknowledgements:

                 I am aware that the NC DPI Education Services for the
                 Deaf and Blind’s Policy and Procedures Manual, NC DPI
                 Policies and Procedures, [and] the OSHR State Human
                 Resources Manual . . . [are] available to me on the ENCSD
                 Intranet and/or the NC Dept of Public Instruction’s website
                 and/or upon request to my manager or Human Resources.

                 I recognize that I am responsible for reading/viewing these
                 policies and for making myself familiar/knowledgeable of
                 all OSHR, ESDB, NC DPI policies as they may relate to my
                 employment.

                 I agree to conduct my activities in accordance with all
                 Education Services for the Deaf and Blind’s and DPI
                 procedures and policies and understand that breaching
                 these standards may result in disciplinary action up to and
                 including dismissal.

                 Web addresses to the aforementioned policies and
                 procedure[s] have been provided to me during the Human
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                  Resources, New Employee Orientation presentation.

     The Education Services for the Deaf and Blind Policies included a requirement that

     “[s]taff transporting students shall meet all the requirements and safety regulations

     of the Department of Motor Vehicles and the Department of Public Instruction.”

¶7         Petitioner also participated in a training for ENCSD transportation staff at the

     beginning of the 2019-20 school year. At the training, Petitioner received a “North

     Carolina School Bus Driver Handout” which stated:

                  According to G.S. 20-218(b):

                  It is unlawful to drive a school bus occupied by one or more
                  child passengers over the highways or public vehicular
                  areas of the State at a greater rate of speed than 45 miles
                  per hour.

                  It is unlawful to drive a school activity bus occupied by one
                  or more child passengers over the highways or public
                  vehicular areas of North Carolina at a greater rate of speed
                  than 55 miles per hour.

¶8         Debra Pierce, first shift transportation coordinator for ENCSD, received a

     phone call at approximately 3:00 pm on Friday, 22 November 2019, from a person

     who identified himself as Terry Grier. According to Pierce, the caller

                  said he was calling out of concern, that there was a bus on
                  I-40. He identified the bus as a white activity bus that had
                  Eastern North Carolina School for the Deaf on the side,
                  Bus Number 34. And he said it was going at a high rate of
                  speed, occupied by one or more passengers.

     The caller informed Pierce that he “was observing the bus going at a high rate . . . of
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       speed, between 80 and 85” and “at some points 90 to 95 miles per hour” with at least

       two passengers on board the bus. In the video, the caller can be heard stating:

                    I am riding down Interstate 40, this is activity bus number
                    34, it says that it’s from the Eastern NC School for the
                    Deaf, Wilson County, my speedometer . . . is averaging
                    between 80 and 90 miles per hour, looks like there is a
                    driver and at least two passengers on the van, it seems to
                    be going pretty fast for an activity bus on the interstate.

¶9           Based on the time of the call and the direction of travel, Pierce concluded that

       the bus was en route to the final stop in Supply, North Carolina. Pierce knew that

       Petitioner, ENCSD employee Sheeneeka Settles, and a student passenger were on

       Bus 34 at that time. Pierce went to the office of Dr. Michele Handley, director of

       ENCSD, and called the bus cell phone. Settles answered the phone and confirmed

       that Petitioner was driving the bus.

¶ 10         According to the route sheet from 22 November 2019, Bus 34 left the stop in

       Warsaw, North Carolina at 2:32 pm with one student on board and arrived at the

       Supply stop at 3:49 pm. Pierce testified that the bus was not scheduled to arrive at

       the Supply stop until 4:15 pm.

¶ 11         On 2 December 2019, ENCSD placed Petitioner on investigatory leave with

       pay. That day, Pierce spoke with Petitioner. According to Pierce, Petitioner denied

       driving 80 to 85 miles per hour but “admit[ted] to speeding up a little over 55 to pass

       a vehicle that was in front of her” and acknowledged that one student was on the bus.
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       In a handwritten note on the bottom of the letter informing Petitioner of the

       investigatory leave, Petitioner wrote, “I was not going 80 mph, I pass and had to speed

       up to pass, and when I try to get back over the car speeded up and would not let me

       over . . . . I have [a] CDL and would not take that chance of losing my CDL.”

¶ 12         During the investigation, on Friday, 13 December, Pierce drove Bus 34 on the

       same route that Petitioner had driven on Friday, 22 November. Settles rode with

       Pierce and completed the route sheet. Pierce departed the stop in Warsaw at 2:30 pm

       and arrived at the stop in Supply at 4:15 pm. Pierce also spoke with Settles during

       the investigation. According to Pierce, Settles indicated that she was looking out the

       window and not paying attention to Petitioner’s driving, and that she did not see the

       GPS red light or hear the beeping.

¶ 13         Respondent held a predisciplinary conference on 18 December 2019 at which

       Petitioner insisted that she had not driven over 55 miles per hour. ENCSD dismissed

       Petitioner effective 19 December 2019 based on both grossly inefficient job

       performance and unacceptable personal conduct of “exceed[ing] a speed of 55 mph

       while operating a student and staff occupied” ENCSD activity bus, which violated

       N.C. Gen. Stat. § 20-218 and Education Services for the Deaf and Blind Policies, and

       created “the potential to cause death or serious bodily injury.”

¶ 14         After Respondent’s final agency decision upholding the dismissal, Petitioner

       filed a petition for a contested case hearing. Following a hearing, the ALJ found that
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Petitioner had engaged in the alleged conduct by “operat[ing] ENCSD bus #34,

traveling on Interstate 40, at a speed in excess of 55 miles per hour which is in

violation of N.C.G.S. § 20-218(b)” and the Education Services for the Deaf and Blind

Policies. The ALJ found that Petitioner’s conduct amounted to grossly inefficient job

performance and unacceptable personal conduct as follows:

             21. . . . [D]riving at a speed that exceeds the set limit
             increases the risk that the driver will lose control of the
             vehicle while trying to adapt to changing road conditions.
             In turn, this increased risk creates further potential for
             death or serious bodily injury to the driver, the passengers
             entrusted to the driver’s care, and everyone else sharing
             the road with him or her.

             22. Petitioner’s conduct of driving an ENCSD bus at a
             grossly excessive speed over the 55 miles per hour speed
             limit was a gross failure of Petitioner to perform her job
             requirements as specified by management. By Petitioner’s
             own admissions, it was an expectation of her job not to
             exceed 55 miles per hour while driving a bus. . . .

             23. Petitioner’s driving of an ENCSD bus at an average
             speed in excess of 70 miles per hour for a distance of 90
             miles and for a time period of 1 hour and 17 minutes
             created the potential for death or serious bodily injury to
             her fellow employee, Ms. Settles, members of the public,
             and a member of the ENCSD student population over
             whom Petitioner had responsibility.

             ....

             26. Petitioner’s conduct falls within the first category of
             unacceptable personal conduct. Given the inherent risks
             associated with Petitioner’s conduct, most significantly,
             the increased risk of death or serious bodily injury to a
             member of the student population entrusted to her care, no
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reasonable person should expect to receive a prior warning
for such conduct.

27. Petitioner’s conduct falls within the second category of
unacceptable personal conduct. Petitioner’s conduct was a
violation of state law, to wit: N.C.G.S. § 20-218(b), which
makes it unlawful to operate a school activity bus occupied
by one or more child passengers over the highways or
public vehicular areas of North Carolina at a greater rate
of speed than 55 miles per hour.

28. Petitioner’s conduct falls within the third category of
unacceptable personal conduct.        By Petitioner’s own
admissions and testimony, she violated known or written
work rules. Petitioner repeatedly admitted that she was
not to drive a bus more than 55 miles per hour during the
performance of her work duties. . . .

29. Petitioner’s conduct falls within the fourth category of
unacceptable personal conduct. . . .

....

30. Here, Petitioner’s conduct had the potential to
detrimentally impact Respondent’s mission and legitimate
interests of providing educational programs to deaf and
hard of hearing students while simultaneously promoting
their safety and wellbeing.

....

31. . . . Petitioner’s conduct of far exceeding the required
55 miles per hour speed limit while transporting a student
was potentially detrimental to Respondent’s mission and
legitimate interests and, thus, was conduct unbecoming of
a state employee and detrimental to state service.
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       The ALJ concluded that Petitioner’s grossly inefficient job performance and

       unacceptable personal conduct amounted to just cause for dismissal and affirmed

       Petitioner’s dismissal. Petitioner appeals.

                                      III.     Discussion

¶ 15         Petitioner challenges the ALJ’s finding that she engaged in the alleged

       conduct.

¶ 16         A career state employee subject to the North Carolina Human Resources Act

       may only be discharged “for just cause.”         N.C. Gen. Stat. § 126-35(a) (2020).

       “Determining whether a public employer had just cause to discipline its employee

       requires two separate inquiries: first, whether the employee engaged in the conduct

       the employer alleges, and second, whether that conduct constitutes just cause for the

       disciplinary action taken.” N.C. Dep’t of Env’t &amp; Nat. Res. v. Carroll, 358 N.C. 649,

       665, 599 S.E.2d 888, 898 (2004) (quotation marks, brackets, and citation omitted).

       We review de novo the conclusion that an employer had just cause to dismiss an

       employee. Id. at 666, 599 S.E.2d at 898.

¶ 17         Where a party contends that a final decision was unsupported by substantial

       evidence, “the court shall conduct its review of the final decision using the whole

       record standard of review.” N.C. Gen. Stat. § 150B-51(b)(5), -51(c) (2020). “Under

       the whole record test, the reviewing court must examine all competent evidence to

       determine if there is substantial evidence to support the administrative agency’s
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       findings and conclusions.” Henderson v. N.C. Dep’t of Hum. Res., 91 N.C. App. 527,

       530, 372 S.E.2d 887, 889 (1988) (citation omitted). Substantial evidence “means

       relevant evidence a reasonable mind might accept as adequate to support a

       conclusion.” N.C. Gen. Stat. § 150B-2(8c) (2020). Unchallenged findings of fact are

       binding on appeal. Koufman v. Koufman, 330 N.C. 93, 97, 408 S.E.2d 729, 731 (1991).

¶ 18          Petitioner argues that there was not substantial evidence in support of the

       determination that she violated N.C. Gen. Stat. § 20-218 because Bus 34 was neither

       a “school bus” nor an “activity bus” as defined in N.C. Gen. Stat. § 20-4.01(27)(m) and

       (n). Petitioner’s argument is misguided.

¶ 19          The ALJ found “that ENCSD bus #34 is a school activity bus as defined in

       N.C.G.S. § 20-4.01(27)(m).” A school activity bus is defined as “[a] vehicle, generally

       painted a different color from a school bus, whose primary purpose is to transport

       school students and others to or from a place for participation in an event other than

       regular classroom work.” N.C. Gen. Stat. § 20-4.01(27)(m) (2020). A school bus is

       defined, in part, as “[a] vehicle whose primary purpose is to transport school students

       over an established route to and from school for the regularly scheduled school day .

       . . that is painted primarily yellow below the roofline. . . .” Id. § 20-4.01(27)(n).

¶ 20          Evidence presented at the hearing showed that the vehicle driven by Petitioner

       was “a white activity bus” that is “one of the shorter buses” that the school has. The

       words “Eastern North Carolina School for the Deaf” and the number “34” were visible
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       on the side of the bus.

¶ 21         Petitioner argues that because the bus was being used to transport a child

       home from the school, the bus did not fit the definition of an activity bus. Specifically,

       Petitioner argues that “[w]hile bus #34 looked like a school activity bus, its primary

       purpose was to transport students to and from school over an established route for

       their regularly scheduled school day.” However, the evidence at the hearing was that

       the bus was being used to pick up residential students from various stops in

       southeastern North Carolina on Sundays, transport them to the school grounds

       where they resided until Friday afternoons, and then transport them back to

       southeastern North Carolina. At the time in question, Bus 34 was not being used to

       transport a student to and from school for the regularly scheduled school day but was

       instead being used to transport a student from their place of residence at the school

       to their place of residence at home, outside of the regularly scheduled school day, on

       a route which was approximately six and a half hours round trip. Furthermore, while

       an activity bus is a vehicle whose “primary purpose” is to transport students to and

       from events other than regular classroom work, nothing in the statute prohibits an

       activity bus from being used for other purposes, such as transporting a child to and

       from their residence for the week. There was substantial evidence in the whole record

       to support the ALJ’s finding that Bus 34 was an activity bus as defined in section

       20-4.01(27)(m).
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¶ 22          Substantial evidence in the whole record otherwise supports the ALJ’s findings

       that Petitioner engaged in unacceptable personal conduct and grossly inefficient job

       performance. Pierce testified, and the ALJ found, that Petitioner was driving Bus 34

       with a coworker and student on board; the route sheets showed that Petitioner had

       completed the route 28 minutes faster than Pierce had; and the witness stated to

       Pierce that Bus 34 was being driven “at a high rate of speed, between 80 and 85 mph,

       and at some points going as fast as 90 to 95 mph[.]”1 The ALJ further found that “for

       Petitioner to travel the 90 miles between the Warsaw stop and the Supply stop in 1

       hour and 17 minutes on the day in question, she would have had to average a speed

       in excess of 70 mph the entire way.” This finding was supported by the ALJ’s official

       notice of the distance between the two stops, pursuant to N.C. Gen. Stat. §§ 150B-30

       and 8C-1, Rule 201, which Petitioner does not appeal. Lastly, the ALJ found that

       “Petitioner’s own admissions show that it was a requirement of her job and a known

       work rule that she was not to drive an ENCSD bus at a speed greater than 55 miles

       per hour.” Because Petitioner does not challenge this finding, it is binding on appeal.

       Koufman, 330 N.C. at 97, 408 S.E.2d at 731.

¶ 23          Petitioner contends that “[a]t no time did the GPS monitor beep or flash on the

       route the Petitioner drove” on 22 November 2019. While Petitioner testified that the



              1 The ALJ also admitted the audio portion of the recording that the witness sent Pierce

       as a present sense impression pursuant to N.C. Gen. Stat. § 8C-1, Rule 803.
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       GPS monitor did not flash, Pierce, Handley, and Petitioner herself each testified that

       the GPS devices were unreliable. Though Settles testified that she did not see the

       GPS blinking or flashing to indicate that Petitioner was speeding, the ALJ also

       received evidence that Settles had been looking out the window of the bus and had no

       view of the speedometer.

¶ 24         Petitioner also attacks the credibility of the reporting witness’ opinion that

       Petitioner reached speeds of 80 to 95 miles per hour, questions the weight the ALJ

       gave to the route sheets admitted into evidence, and contends that Respondent should

       have introduced other route sheets recorded on the Friday afternoon route. These

       arguments are unavailing because, “[l]ike the jury in a jury trial, the ALJ is the sole

       judge of the credibility of the witnesses and the weight to be given to the evidence as

       the finder of fact.” N.C. Dep’t of State Treasurer v. Riddick, 274 N.C. App. 183, 852

       S.E.2d 376, 382 (2020). Moreover, a reviewing “court applying the whole record test

       may not substitute its judgment for the agency’s as between two conflicting views,

       even though it could reasonably have reached a different result had it reviewed the

       matter de novo.” Watkins v. N.C. St. Bd. of Dental Examiners, 358 N.C. 190, 199, 593

       S.E.2d 764, 769 (2004).
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                                     IV.     Conclusion

¶ 25         Substantial evidence in the whole record supported the ALJ’s findings that

       Petitioner engaged in grossly inefficient job performance and unacceptable personal

       conduct. The ALJ did not err by affirming Respondent’s dismissal of Petitioner.

             AFFIRMED.

             Judges ARROWOOD and JACKSON concur.
